                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                    GREENEVILLE DIVISION

  RICKY UPCHURCH, as the executor of the           )
  estate of Juanita Upchurch; and RICKY            )
  UPCHURCH, for the use and benefit of the         )                   2:19-CV-00149
  next of kin of Clayton Upchurch;                 )
                                                   )
                                                   )
                 Plaintiffs,                       )
                                                   )
         vs.                                       )
                                                   )
  NATIONAL RIFLE ASSOCIATION, and
  LIFE INSURANCE COMPANY OF
  NORTH AMERICA,

                 Defendants




                                              ORDER
        Pursuant to E.D. Tenn. Local Rule 3.2(d)(3), this matter has been referred to the

 undersigned to determine whether the above-captioned case is related to Ricky Upchurch, et al. v.

 Mutual of Omaha Insurance Co., a case filed on August 14, 2019, and should be assigned to the

 district judge assigned to 2:19-CV-148.

        The Court finds that the two cases are related as defined in Local Rule 3.2(d)(3)(A) as the

 cases arise out of the same transaction or occurrence involving a traffic accident in Nevada in

 August of 2014. Ricky Upchurch is the plaintiff in the original case and the related case.

        Therefore, the Court finds this case and Case No. 2:19-CV-148 should be deemed related.

        SO ORDERED:




                                              s/ H. Bruce Guyton
                                              Chief United States Magistrate Judge


Case 2:19-cv-00149-DCLC-CRW Document 4 Filed 08/19/19 Page 1 of 1 PageID #: 36
